Case 23-11069-CTG   Doc 1268-3      Filed 12/04/23   Page 1 of 2




                        Exhibit 3

                     Back-Up Bidders
                                                   Case 23-11069-CTG               Doc 1268-3            Filed 12/04/23           Page 2 of 2



Back-Up Bidders By Property


                                                                                                                    Winning Bid                                                   Back-Up Bid
Site #    Type         Street Address            City            State   Zip              Winning Bidder             Amount                      Back-Up Bidder                     Amount
Y289      Owned        1187 Welford Place        Woodstock       ON      N4S 7Y5     Royal Group Holdings Inc..     $2,950,000               All Star Investments Inc.            $2,920,000
H357      Owned        2530 S Tibbs Avenue       Indianapolis    IN      46241          Estes Express Lines         33,522,222         ArcBest Property Management, LLC           31,100,000
Y370      Owned        4425 W First Street       Duluth          MN      55807      Saia Motor Freight Line, LLC    4,000,000          ArcBest Property Management, LLC           3,010,000
Y728      Owned        2635 Rockfill Road        Fort Myers      FL      33916        Crown Enterprises, LLC        2,761,000           Consolidated Pipe and Supply, Inc.        2,670,000
H385      Owned        8100 W Sandidge Road      Olive Branch    MS      38654          Estes Express Lines         22,268,333               Dayton Freight Lines, Inc.           18,900,000
Y140      Owned        9 Cote Lane               Bedford         NH      3110           Estes Express Lines         1,042,300                    GFI Partners LLC                  900,000
H262      Owned        27411 Wick Road           Romulus         MI      48174          Estes Express Lines         14,400,000                 GPSS Holdings, LLC                 12,200,000
H329      Owned        5201 Sunset Road          Charlotte       NC      28213          Estes Express Lines         20,930,000                 GPSS Holdings, LLC                 20,100,000
Y555      Owned        111 Gembler Road          San Antonio     TX      78219       United Holding Group Inc.      4,050,000                  GPSS Holdings, LLC                 4,010,000
H290      Owned        95 Holland Drive          Gallipolis      OH      45631        Crown Enterprises, LLC         1,111,000              Hidden Valley Leasing, LLC              791,750
Y261      Owned        22701 Van Born Road       Taylor          MI      48180         Skylark Logistics, Inc.      7,020,000              Laredo Property Holding Inc.            6,125,000
H634      Owned        6650 Transit Road         Williamsville   NY      14221          Estes Express Lines         5,551,000        Love's Travel Stops & Country Stores, Inc.   5,000,000
Y757      Owned        1400 SW 30th Avenue       Boynton Beach   FL      33426          Estes Express Lines         11,500,000                IOS-PVB Holdings, LLC               10,000,000
Y525      Owned        5501 Campus Drive         Fort Worth      TX      76140      Southeast Consolidators, Inc.   8,500,000                RLF IV Acquisitions, LLC             6,900,000
Y471      Owned        12169 Old Gentilly Road   New Orleans     LA      70129        Crown Enterprises, LLC        4,915,000                        TCW, Inc.                    4,500,000
R858      Owned        1951 San Juan Drive       Lake Havasu City AZ     86403        Crown Enterprises, LLC         943,000                         Unis, LLC                     620,000
R871      Owned        3045 S 43rd Avenue        Phoenix         AZ      85009          GPSS Holdings, LLC          9,850,000               United Holding Group Inc.             8,500,000
Y800      Owned        94-164 Leokane Street     Waipahu         HI      96797          Estes Express Lines         5,525,000               Watumull Properties Corp.             4,800,000
